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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

 In re:                                                  Case No. 21-21082-EPK

 VOS CRE I, LLC,                                         Chapter 11 (Sub V)

       Debtor
 ___________________________/

 VOS CRE I, LLC,

           Plaintiff,
 vs.                                                     Adversary Case No. 22-________-EPK

 BBM3, LLC, BRANDEN MUHL,
 and John Does 1-10,

       Defendants.
 ___________________________/


       ADVERSARY COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES FOR
                     AUTOMATIC STAY VIOLATIONS
          Debtor, VOS CRE I, LLC (the “Plaintiff”), sues BBM3, LLC (“BBM3”) and Branden

Muhl (“Muhl”, and collectively with BBM3 and John Does 1-10, “Defendants”), pursuant to 11

U.S.C. §§ 105(a), 362(a), Fed. R. Bankr. P. 7001, Fed. R. Bankr. P. 7065 and Fed. R. Civ. P. 65,

seeking injunctive relief and damages for the Defendants’ willful and ongoing violations of the

automatic stay. In support thereof the Plaintiff alleges:

                                            SUMMARY

          1.      The Defendants have filed and are actively pursuing a motion to appoint a receiver

to displace the authorized representative of the Debtor and to assert control over the Debtor’s

assets. Only three (3) days after this Honorable Court entered its Order approving a settlement




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releasing the Debtor’s Share of the escrowed funds, $5,239,000, and overruling their objection 1 to

the settlement, the Defendants commenced a state court case in Michigan, seeking to obtain

emergency injunctive relief targeted directly at the Debtor. Next, the Defendants attempted to levy

on the escrowed funds, including property of the estate. When their effort to circumvent this

Court’s jurisdiction and express order failed, the Defendants served the Debtor’s authorized

representative with a subpoena for deposition duces tecum, filed an emergency motion to appoint

a receiver and scheduled a hearing to occur on June 29, 2022, and served the Debtor’s counsel

with court papers from their Michigan state court case. The Debtor asks the Court to enjoin the

Michigan case, to award sanctions to the Debtor for its damages incurred in fending off these

attacks and to assess the Defendants with punitive damages for their ongoing stay violations.

                                    JURISDICTION AND VENUE

       2.      On November 22, 2021 (the “Petition Date”), the Debtor filed a voluntary petition

in the United States Bankruptcy Court for the Southern District of Florida (the “Bankruptcy

Court”) for relief under Chapter 11, sub chapter V, of Title 11 of the United States Code (the

“Bankruptcy Code”).

       3.      This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§157 and 1334 in that it arises in and relates to the captioned Chapter 11 case.

       4.      This is a core proceeding pursuant to 28 U.S.C. §§157, et. seq.

       5.      The statutory predicates for relief sought are 11 U.S.C. §§105(a), 362(a), 28 U.S.C.

§ 65 and §1334 and Fed. R. Bankr. P. 7001 and 7065.

       6.      Venue is proper before this Court pursuant to 28 U.S.C. §1409(a).




1
 The Court determined that BBM3 is not a creditor of the Debtor, and therefore had no standing
to object to the settlement
                                                 2
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                                               PARTIES

        7.      The Plaintiff is a Florida limited liability company.

        8.      The Debtor-Plaintiff’s authorized representative is James Vosotas (“James”), and

his father is Daniel Vosotas (“Daniel” and jointly, the “Vosotases”). The Vosotases are real estate

professionals with decades of experience in hospitality and multifamily property development and

investments. James is the authorized representative of the Debtor. James has no direct ownership

of or membership interest in the Debtor.

        9.      Defendant BBM3 is listed as a Delaware limited liability company. BBM3 has been

an active participant in this case.

        10.     Defendant Muhl is believed to be the sole member-manager of BBM3 and is

BBM3’s decision maker.

        11.     Defendants John Does 1-10 are attorneys who participated in or facilitated the stay

violations with knowledge of the existence of this Chapter 11 case.

                                         BACKGROUND

        I.      Prebankruptcy Litigation

        12.     Prior to filing for relief in this Court, the Debtor held membership interests in three

hospitality oriented real estate ventures.

        13.     On the Petition Date, the Debtor’s assets included, inter alia, (1) $8,500,000 of

cash, representing the net proceeds from the sale of its interest in a hotel in Detroit, Michigan that

was being held by an escrow agent in Michigan pursuant to a state court injunction and (2) an

interest in Miami Beach’s Hotel Greystone (the “Greystone Interest”), which Muhl controls.

        14.     On the Petition Date, there were three (3) relevant cases being litigated: (1) a case

against the Debtor and its manager filed by its minority members that resulted in $8,500,000 of



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net closing proceeds from the sale of the Debtor’s interest in a hotel in Detroit, Michigan (the

“Escrowed Funds”) being held by an escrow agent (the “Michigan Case”), (2) control over the

Greystone hotel was being litigated in the matter of James Vosotas, et. al. v. Branden Mul, BBM3,

LLC, et. al., Case No. 2021-016770-CA-01, in Florida state court (the “Florida Case”), and (3) a

claim on a personal guarantee 2 was being litigated in the New York State Supreme Court entitled

BBM3, LLC v. James Vosotas, Index 652015/2021 (the “New York Case”).

       15.     Debtor’s bankruptcy filing triggered the automatic stay of 11 U.S.C. § 362.

       16.     Thereafter, BBM3’s counsel in the New York Case filed a notice that stated:

       PLEASE TAKE NOTICE that because Plaintiff’s motion for attachment and TRO
       seeks to attach defendant James Vosotas’ membership interest in VOC CRE I, LLC
       (the “LLC”), and because the LLC filed for bankruptcy on November 22, 2021 (In
       re VOS CRE I, LLC (S.D. Fl. Bankr., Petition #21-21082-EPK)), Plaintiff hereby
       serves notice of withdrawing its Motion for Attachment and TRO (Motion No. 2).

A copy of the Notice is attached as Exhibit A.

       17.     The Court in the New York Case subsequently issued its Decision and Order on

Motion on January 4, 2022, adjudicating several issues and noting that:

       For completeness, the Lender's motion for an attachment (Mot. Seq. No. 002) is
       withdrawn (NYSCEF Doc. No. 75) because the Lender sought to attach the
       Guarantor's membership interest in VOS CRE ILLC and VOS CRE I LLC filed for
       bankruptcy on November 22, 2021.




2
 Although Muhl and James started off as partners in the Hotel Greystone and were both guarantors
of the loan they used to purchase their interest in the Hotel Greystone (the “Loan”), following the
COVID-19 pandemic, Muhl caused the Hotel Greystone to default on the Loan. Muhl then caused
BBM3 to purchase the Loan and commenced the New York Case against James to enforce the
personal guaranty that both partners had signed.
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       II.     The Bankruptcy Settlement

       18.     The centerpiece of this case has been the disposition of the Escrowed Funds. After

it filed for bankruptcy, the Debtor commenced an adversary proceeding for turnover of the

Escrowed Funds.

       19.     The litigation and negotiations that followed culminated in a settlement that

resulted in the Court approving a settlement between the Debtor and various constituents. The

settlement called for the Debtor’s Share of the escrowed funds, $5,239,000, to be released from

escrow to the Debtor’s counsel’s trust account 3, and cleared the path for Debtor to file a plan of

reorganization 4 that provides a 100% distribution on all allowed claims.

       20.     BBM3 objected to the settlement, arguing that it facilitated a sub rosa plan, that it

was “a payoff to the squeaky wheels” and that it was designed to somehow benefit insiders of the

Debtor 5. See BBM3’s Objection to Debtor’s Rule 9019 Motion (D.E. #146).

       21.     The Court substantively overruled BBM3’s objections and found BBM3 lacked

standing to contest the settlement and approved the settlement by its Order dated June 6, 2022. See

Order Granting Debtor’s Motion to Approve Settlement, D.E. #156.

        III.   The Defendants File a Collection Case in Michigan

       22.     On February 9, 2022, the Defendants domesticated the New York Case’s Judgment

against James and opened a collection case in Michigan, entitled BBM3, LLC v. James Vosotas,

Case No. 2022-192491-CZ (the “Collection Case”).




3
  See Debtor’s Motion for an Order Approving Settlement, D.E. #139.
4
  See Debtors First Amended Plan of Reorganization, D.E. #150.
5
  These insiders agreed to reduce two claims: the first from $3,725,190 to $24,999.97, and the
second from $9,056,269 to $5,000.
                                                 5
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       III.    The Defendants Commit their First Violation of the Automatic Stay

       23.     Unbeknownst to the Debtor, on March 18, 2022, the Defendants served the Escrow

Agent with a Writ for Garnishment on Garnishee Defendant MS Title Agency, LLC attached as

Exhibit B, which purported to obtain control of the escrowed funds. The Escrow Agent filed the

Garnishee Disclosure attached as Exhibit C advising the Defendants that the Escrowed Funds were

subject to a Court Order and referred the Defendants to this pending bankruptcy case.

       23.     The Defendants had no legitimate reason to serve the Escrow Agent with the Writ

for Garnishment. The extensive record developed in the Michigan Case and before this Court

reflects that only the Bankruptcy Court has jurisdiction over the property that the Escrow Agent

was holding. The Defendants knew that the property in the Escrow Agent’s possession was not

James’ property, and the only reason they served the Escrow Agent with the Writ for Garnishment

was to try to take control of the Debtor’s funds.

       IV.     The Defendants Commit their Second Violation of the Automatic Stay

       24.     Three (3) days after the Bankruptcy Court overruled BBM3’s objection to the

settlement, on June 9, 2022, the Defendants filed a Motion for Appointment of Receiver (See

Exhibit D) and a Brief in Support of Motion to Appoint a Receiver (See Exhibit E) (the Motion and

Brief are referred to as the “Receivership Motion”).

       25.     The majority of the Receivership Motion portrays a scheme by the Debtor,

orchestrated by James, that the Defendants claimed was intended to evade a non-existent

obligation to pay them from the Debtor’s escrowed funds.

       26.     The Receivership Motion specifically acknowledged that the Bankruptcy Court had

entered an Order directing the disposition of the escrowed funds, and that the Debtor’s Share would

be deposited in the trust account of the Debtor’s counsel.



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       27.     Yet, the Receivership Motion alleged that “Judgment Creditor rightfully fears that

Judgment Debtor [James Vosotas], as corporate representative for VOS CRE I in the Bankruptcy,

will exercise control over the Escrow Monies to the detriment of Judgment Creditor.”

       28.     As noted earlier and throughout the Debtor’s Petition and court filings, James is the

authorized representative of the Debtor. James is authorized by law to assist the Debtor in

proposing a plan of reorganization. See In re VOS CRE I, LLC, 21-21082-EPK [ECF No. 1].

       29.     The “fears” Defendants expressed were non-existent. Indeed, this Court advised

Defendant’s bankruptcy counsel on June 1, 2022, that “[i]f it turns out that BBM3 actually is a

party that can object to confirmation of a plan, even though it has no claim in this case, then we

can deal with that at the time of confirmation, although that seems very unlikely.” [June 1, 2022,

transcript at 34:23-35:2]. Indeed, the Debtor may not use the Debtor’s Share unless approved by

the Bankruptcy Court after notice and a hearing. It is the Debtor’s expectation that the order

confirming the Plan of Reorganization will direct the disposition of the Escrow Funds.

       30.     The Defendants conjured “fears” and ignored fundamental tenets of bankruptcy law

so that they could mislead the state court judge in the Collection Case into conducting a hearing

on their eventual bid to wrest control of the Debtor’s property through their backhanded request

for a receiver over James.

       31.     Paragraph 10 of the Receivership Motion states:

       Judgment Creditor now seeks appointment of a receiver over Judgment Debtor for
       purposes of taking control of all of Judgment Debtor's attachable assets, including without
       limitation his membership interest in the Corporate Entities and any other business entities
       identified through the receivership.

       32.     The Defendants understood the nature of the relief being sought in the Receivership

Motion was a violation of the automatic stay. It bears repeating that the Defendants through

counsel in the New York Case had filed a notice stating that:

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       33.       BBM3’s counsel in the New York Case filed a notice stating:

       PLEASE TAKE NOTICE that because Plaintiff’s motion for attachment and TRO
       seeks to attach defendant James Vosotas’ membership interest in VOC CRE I, LLC
       (the “LLC”), and because the LLC filed for bankruptcy on November 22, 2021 (In
       re VOS CRE I, LLC (S.D. Fl. Bankr., Petition #21-21082-EPK)), Plaintiff hereby
       serves notice of withdrawing its Motion for Attachment and TRO (Motion No. 2).

See Exhibit A.

       34.       The Defendants knew that seeking an equitable remedy as to James’ purported

interest in the Debtor, including his management authority, would violate the automatic stay when

the Debtor filed for bankruptcy protection after the motion had been filed in the New York Case,

so their counsel withdrew that request for equitable relief. Yet the Defendants affirmatively sought

an equitable remedy as to James’ purported interest in and control of the Debtor in the Collection

Case, and even went so far as to file the Receivership Motion that is an even more egregious stay

violation than proceeding in the New York Case.

       35.       The Court in the Collection Case is scheduled to conduct a hearing on the

Receivership Motion on June 29, 2022.

       V.        The Defendants Commit their Third Violation of the Automatic Stay

       36.       The Defendants committed their third stay violation four (4) days after the

Bankruptcy Court found that BBM3 is not a creditor of the Debtor on June 10, 2022 when they

served the Escrow Agent that was holding the escrowed funds with the Request and Order to Seize

Property attached as Exhibit F.

       37.       The Request and Order to Seize Property purportedly sought to confiscate any

property belonging to James that the Escrow Agent was holding. But this, too, was a thinly

disguised ruse. The extensive record developed in the Michigan Case and before this Court reflects

that only the Bankruptcy Court has jurisdiction over the property that the Escrow Agent was



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holding.        This Court’s Order Granting Debtor’s Motion to Approve Settlement explicitly

determined the disposition of the escrowed funds and directed that the Debtor’s Share be

transferred to the trust account of the Debtor’s counsel 6. The Defendants knew that the property

in the Escrow Agent’s possession was not James’ property. The Defendants served the Escrow

Agent with the Request and Order to Seize Property to throw a proverbial monkey wrench into

this bankruptcy process and upend the Debtor’s ability to confirm its First Amended Plan of

Reorganization.

          38.      Immediately upon learning of the first of the Defendants’ stay violation, the

Debtor’s counsel notified BBM3’s Florida bankruptcy counsel of the stay violation and requested

an explanation of why the Defendants believed that they could attempt to seize the Debtor’s

property. The Defendants never responded.

          VI.      Defendants’ Fourth Violation of the Automatic Stay

          39.      The Defendants committed their fourth stay violation on June 22 and 23, 2022 when

they sent a process server to serve papers from the Collection Case on the Debtor’s counsel. The

Debtor’s counsel only represents the Debtor and has never represented James. No legitimate reason

exists for serving the Debtor’s counsel with process in the Collection Case. The Debtor is not a

party to the Collection Case. The Defendants’ conduct is evidence of malicious intent and a brazen

disregard of the 11 U.S.C. § 362.




6
    Debtor’s Counsel has the Debtor’s Share in its trust account.
                                                    9
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                                             COUNT I

       SEEKING SANCTIONS FOR VIOLATIONS OF THE AUTOMATIC STAY

                                (AGAINST ALL DEFENDANTS)

       40.      The foregoing paragraphs are incorporated into this Count I.

       41.      The automatic stay of 11 U.S.C. § 362:

             “operates as a stay, applicable to all entities, of—
             (1) the commencement or continuation, including the issuance or employment
                 of process, of a judicial, administrative, or other action or proceeding
                 against the debtor that was or could have been commenced before the
                 commencement of the case under this title, or to recover a claim against the
                 debtor that arose before the commencement of the case under this title;
             (2) the enforcement, against the debtor or against property of the estate, of a
             judgment obtained before the commencement of the case under this title;
             (3) any act to obtain possession of property of the estate or of property
                 from the estate or to exercise control over property of the estate;

(emphasis supplied)

       42.      The Defendants’ conduct described above constitutes a series of past and ongoing

violations of at least one section of 11 U.S.C § 362, since the Defendants’ efforts in the Collection

Case are devoted to obtaining possession or exercising control over the escrowed funds and the

Debtor’s Share.

       43.      The Defendants’ attempts to displace James with a receiver also violate the

automatic stay, because James is the authorized representative of the Debtor before this Court.

       44.      Debtor has made several written requests and demands that the Defendants explain

their conduct or dismiss the Collection Case, but the Defendants persist in their efforts to derail

this bankruptcy case.

       45.      Being duty bound to the creditors to go through with the First Amended Plan of

Reorganization, the Debtor has been and will be forced to incur tens of thousands of dollars in

attorneys’ fees to halt the Defendants’ illegal stay violations.

                                                  10
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       46.     As a result of each instance of the Defendants’ conduct and their ongoing ploy to

upend this bankruptcy case, the Debtor has been harmed.

       WHEREFORE, the Debtor requests that the Court enter judgment in its favor finding that

the Defendants have committed multiple stay violations, sanctioning the Defendants and requiring

the Defendants to pay compensatory damages and attorney’s fees to the Debtor for their willful,

malicious and outrageous conduct, enjoining the Collection Case from proceeding, and granting

further sanctions against the Defendants on terms that the Court deems appropriate, and for any

such other relief as the Court deems just and proper.

                                           COUNT II

                              SEEKING INJUNCTIVE RELIEF

                               (AGAINST ALL DEFENDANTS)

       47.     The foregoing paragraphs are incorporated into this Count II.

       48.     Section 105(a) provides that “[t]he court may issue any order, process, or judgment

that is necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a).

       49.     The Debtor seeks injunctive relief under Fed. R. Bankr. P. 7065 and Fed. R. Civ.

P. 65, enjoining the Collection Case from proceeding and enjoining the Defendants from

continuing their efforts to obtain control over property of the bankruptcy estate.

       50.     The Defendants’ conduct described above and continuing efforts to disrupt the

Debtor and its principals in unknown has resulted in irreparable injury and unnecessary time and

costs expenditures that otherwise would be devoted to plan confirmation.

       51.     While sanctions and monetary damages may be sufficient to redress the Debtor’s

injury from the Defendant’s past conduct and stay violations, monetary damages are wholly




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 inadequate to compensate the Debtor for the delays, distractions and disruptions the Defendants’

 conduct is having on the Debtor’s reorganization.

       52.     Indeed, the time and effort the Debtor and its professionals have been forced to

 expend fending off attempts by the Defendant’s to wrest control of property of estate has detracted

 from their preparation and presentation of plan of organization.

       53.     Debtor has made several written requests and demands that the Defendants cease

and desist unwarranted disruptive conduct, but the Defendants persist in their efforts to derail this

bankruptcy case.

       54.     Being duty bound to the creditors to go through with the First Amended Plan of

Reorganization, the Debtor and its professionals has been and will be forced to exert inordinate

resources to preserve the estate assets.

       55.     As a result of each instance of the Defendants’ conduct and their ongoing ploy to

upend this bankruptcy case, the Debtor has been harmed.

       56.     By contrast, no harm will be done to the Defendants if an injunction is issued

barring further violations of the automatic stay or attempts to use litigation as a means of detracting

the debtor’s principal from putting best efforts toward consummation of a plan of reorganization.

       57.     On balance, and given the undue hardship borne by the Debtor because of the

Defendants’ conduct, a remedy in equity is warranted.

       58.     The proposed injunctive relief is an appropriate and measured response and would

advance the public interest in promoting the bankruptcy process as an orderly way to reorganize a

distressed entity, with all creditors and parties-in-interest having input during the process.

       WHEREFORE, the Debtor requests that the Court enter judgment in its favor finding that

the Defendants have committed multiple stay violations, enjoining the Collection Case, enjoining



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the Defendants from taking any other action in respect of James until after this case has been

dismissed and all appeal periods have run, finding the Defendants liable to pay the Debtor’s

attorney’s fees and costs and for any such other relief as the Court deems just and proper.


Respectfully submitted on June 24, 2022

                                             DGIM Law, PLLC
                                             Counsel for the Plaintiff, VOS CRE I, LLC
                                             2875 NE 191st Street, Suite 705
                                             Aventura, FL 33180
                                             Phone: (305) 763-8708

                                             /s/ Daniel Y. Gielchinsky
                                             Isaac Marcushamer, Esq.
                                             Florida Bar No. 0060373
                                             Daniel Y. Gielchinsky
                                             Florida Bar No. 0097646




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           Exhibit A
FILED: NEW YORK COUNTY CLERK 12/16/2021 11:09 AM                                                                                                                                  INDEX NO. 652015/2021
NYSCEF DOC. NO. 75                   Case 22-01195-EPK                                       Doc 1       Filed 06/24/22                              Page 15 of 37 NYSCEF: 12/16/2021
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               SUPREME                COURT              OF THE            STATE             OF NEW        YORK
               COUNTY             OF      NEW YORK
               -----------------------_______________-                                                                              X



               BBM3,          LLC,                                                                                                     :            IndeX    No.        652015/2021



                                                                          Plaintiff,                                                   :            NOTICE              OF MOTION                   FOR
                                                                                                                                                    ATTACHMENT                          AND
                                -- against          --                                                                                 :            TEMPORARY
                                                                                                                                                    RESTRAINING                         ORDER
               JAMES           VOSOTAS,                                                                                                :


                                                                           Defendant.                                                  :
               ______________-------------------------                                                                              X




                    PLEASE             TAKE              NOTICE           that     because       Plaintiff's           motion              for     attachment           and     TRO        seeks


                                                               Vosotas'
         to attach       defendant              James                            membership           interest          in VOC              CRE        I LLC       (the       "LLC"),        and


         because        the     LLC       filed       for      bankruptcy              on November             22,     2021      (In        re     VOS      CRE I, LLC             (S.D.      Fl.



         Bankr.,       Petition          # 21-21082-EPK)),                       Plaintiff      hereby         serves      notice                of withdrawing               its Motion


         for    Attachment             and      TRO          (Motion         No.       2).




         Dated:        New    York,             New         York
                       Deceniber             16, 2021                                                          KAUFMAN                       & KAHN,              LLP


                                                                                                               By:                  422
                                                                                                               Mark       S. Kaufman
                                                                                                               10 Grand         Central
                                                                                                                               44*           19*
                                                                                                               155      East         Street,                       Floor
                                                                                                               New       York,     NY 10017
                                                                                                               (212)      293-5556
                                                                                                               Email:          kaufman@kaufmankahn.com
                                                                                                                               Attorneys             for    Plaintiff
         To (by        ECF):
                       William           R. Clayton
                       Clayton          Trial       Lawyers
                       401      E Las        Olas
                       Suite         130-725
                       Fort     Lauderdale                FL       33301-2211
                       Tel.:     (954)       712-2300
                       Email:          claytonw@ctilawyers.com
                                      Attorneys             for    Defendant




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           Exhibit B
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           Exhibit C
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           Exhibit D
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           Exhibit E
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                                             STATE OF MICHIGAN
                          IN THE SIXTH CIRCUIT COURT FOR THE COUNTY OF OAKLAND

         BBM3, LLC,

                Plaintiff/Judgment Creditor,                               Case No. 2022-192491-CZ
         vs.
�                                                                          Hon. Nanci J. Grant
a..      JAMES VOSOTAS,
co
T""

M               Defendant/Judgment Debtor,
N
N
0
N

co       F. Brett Baccari (P74726)                                  JAMES VOSOTAS
         SHARK LAW OFFICES PLLC                                     In Pro Per
         Attorney for Plaintiff/Judgment Creditor                   1551 Delgado Avenue
         23077 Greenfield Rd., Ste. 215                             Coral Gables, Florida 33146
         Southfield, Michigan 48075
 ::J     (248) 392-2272
 0       brett@sharklawoffices.com
(.)
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 co
 C:

                            PLAINTIFF/JUDGMENT CREDITOR'S BRIEF IN SUPPORT OF
 co
.:it:.
                                  MOTION FOR APPOINTMENT OF RECEIVER

 C)
 C:
                COMES NOW, the Plaintiff/Judgment Creditor, BBM3, LLC (hereinafter "Judgment
LL       Creditor"), by and through counsel, SHARK LAW OFFICES, PLLC, and files this Brief in support of
         Plaintiff/Judgment Creditor's Motion for Appointment of Receiver state as follows:

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 (])
                                                    BACKGROUND
 (])
 (.)            1.     This matter regards a New York state court judgment field and docketed on
 (])

         January 13, 2022 in the amount of $19,380,664.30 that has been properly domesticated for
0        enforcement and satisfaction against Defendant/Judgment Debtor JAMES VOSOTAS (hereinafter
w
_J

LL       "Judgment Debtor") in this Honorable Court pursuant to MCL 691.1171 et seq. (hereinafter
         "Judgment"). See Exhibit 1 - Affidavit and Notice of Entry of Foreign Judgment.
                                               PROCEDURAL HISTORY
                2.     Judgment Creditor filed an Affidavit and Notice of Entry of Foreign Judgment with
         this Honorable Court on February 9, 2022 seeking to attach property in Michigan owned by
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Judgment Debtor, including without limitation monies and value related to development of the
David Whitney Building in Detroit, Michigan. See Exhibit 1; MCL 691.1171 et seq.
       3.       This Court's clerk served a copy of the Affidavit and Notice of Entry of Foreign
Judgment on Judgment Debtor via first-class mail and signed a Certificate of Mailing in
accordance with MCL 691.1174(3) and MCR 2.107(c)(3). See Exhibit 1; MCL 691.1174(3); MCR
2.107(c)(3).
       4.       Upon Judgment Creditor's request, the Court entered a nonperiodic Writ for
Garnishment on Garnishee Defendant MS Title Agency, LLC (hereinafter "MS Title") pursuant to
MCL 600.4011 et seq; MCR 3.101. See Writ for Garnishment entered March 18, 2022.
       5.       Following service and receipt of requisite garnishee disclosure fees, MS Title
responded via Garnishee Disclosure that:
            " [Judgment Debtor] is one of 9 parties to an Escrow Agreement pursuant
            to which [MS Title] holds $8.5 Million. The escrowed funds can only be
            distributed pursuant to the written instructions signed by all the parties to the
            Escrow Agreement or Court Order. Absent such instructions or Court Order[,
            Judgment Debtor] has no right to receive any funds and [MS Title] has not (sic)
            obligation to distribute any funds.
                 There are currently two pending proceedings related to the escrowed
            funds.
                 1. Oakland County Circuit Court Case No. 2021-185649-CB.
                 2. Southern District of Florida Bankruptcy Court Adv. Case No. 21-
                      01405-EPK."

(hereinafter "Escrow Agreement"). See Exhibit 2- Garnishee Disclosure filed April 4, 2022.
       6.       The following are among the nine (9) parties to the Escrow Agreement.
                a. Judgment Debtor;
                b. DW Detroit LLC;
                C.   VOS Holdings I, LLC;
                d. VOS Hospitality, LLC;
                e. VOS Manager I, LLC; and
                f. VOS CRE I.
(hereinafter "Corporate Entities"). See Exhibit 3 - Escrow Agreement; Exhibit 4 - Affidavit of



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Daniel Vosotas1 .
          7.           VOS CRE I and its assets are currently the subject of Chapter 11 bankruptcy
proceeding (hereinafter "Bankruptcy") filed in U.S. Bankruptcy Court - Southern District of
Florida (hereinafter "Bankruptcy Court"). See In re: VOS CRE I, Case No. 21-21082-EPK (U.S.
Bankruptcy Court - Southern District of Florida).             No other Corporate Entities have filed
bankruptcy.
          8.           On June 6, 2022, the Bankruptcy Court ordered MS Title to distribute
"$5,239,00.00 to the trust account of DGIM Law PLLC for the benefit of [VOS CRE I]" (hereinafter
"Escrow Monies"). See Exhibit 5 - Order Granting Debtor's Motion Pursuant to Bankruptcy Rule
9019.
          9.           Judgment Creditor rightfully fears that Judgment Debtor, as corporate
representative for VOS CRE I in the Bankruptcy, will exercise control over the Escrow Monies to
the detriment of Judgment Creditor.
          10.          Judgment Creditor now seeks appointment of a receiver over Judgment Debtor
for purposes of taking control of all of Judgment Debtor's attachable assets, including without
limitation his membership interest in the Corporate Entities and any other business entities
identified through the receivership.
                                                RECEIVERSHIP

          11.          MCL 554.1016(b) outlines the postjudgment circumstances under which this
Honorable Court may appoint a receiver:
                (i)      To carry the judgment into effect; and
                (ii)     To preserve nonexempt property pending appeal or when an execution has
                         been returned unsatisfied and the owner refuses to apply the property in
                         satisfaction of the judgment.
          12.          Pursuant to statute, the Court may appoint a receiver to enforce money
judgments. MCL 600.6104(4) ("After judgment for money has been rendered in an action in any


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 Page 11 of Exhibit 4 contains an Organizational Chart highlighting Judgment Debtor's
membership interest in the Corporate Entities.

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           Exhibit F
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